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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

IN RE: JOHNSON & JOHNSON

TALCUM POWDER PRODUCTS MDL No. 3:16-md-02738
MARKETING, SALES PRACTICES

AND PRODUCTS LIABILITY

LITIGATION -ORDER TO SHOW

~ === 2 == 2-2-2 2 2-2-2 == CAUSE WHY CASES ON THE
ATTACHED EXHIBIT A SHOULD
NOT BE DISMISSED WITH
PREJUDICE

This relates to all cases in Exhibit A

THIS MATTER, having been brought before the Court by Defendants
Johnson & Johnson and LLT Management LLC, f/k/a LTL Management LLC,
(“Defendants”), for entry of an Order to Show Cause requiring Plaintiffs listed in the
attached Exhibit A to show cause why their case should not be dismissed with

prejudice; and for good cause shown;

If IS on this _| Nn day of June. , 2024
ORDERED as follows:
1. Plaintiffs listed on the attached Exhibit A shall show cause, within

twenty-one (21) days from the date of this Order, why their case
should not be dismissed with prejudice for their failure to serve

Defendants (via MDL Centrality) with a Plaintiff Profile Form (PPF);

and

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2. Defendants shall have seven (7) days to respond to any filing by

Plaintiffs opposing dismissal of their case with prejudice; and

3. Plaintiffs who fail to show cause within twenty-one (21) days of this |
Order why their case should not be dismissed with prejudice shall

have their case dismissed with prejudice immediately; and

4, After the expiration of thirty-five (35) days from the date of this
Order, Defendants shall file an Order to dismiss with prejudice cases
subject to this Order to Show Cause which the Court has not

expressly found demonstrated good cause for their failure to file a

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Hon. Ruihganah L: Singh
U.S. Magistrate Judge

PPF.

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EXHIBIT A

Case 3:16-md-0273& Mast Ro G2 4g eQueeshbjectof Orde to show CaGse! 5 PagelD: 186976

Row # Case Name Plaintiff Firm(s) Docket Number
1 Flowe, Sherry Ashcraft & Gerel 3:17-cv-10963
2 Burns, Margaret Ashcraft & Gerel 3:17-cv-11259
3 Gaspard, Ethel Ashcraft & Gere! 3:17-cv-11274
4 Scott, Shilinda Ashcraft & Gerei 3:17-cv-11283
5 Lumas, Tanashiska Barrett Law Group, P.A, 3:16-cv-06694
6 Smith, Viola Barrett Law Group, P.A, 3:17-cv-07021
7 Rico, Amy M. Baum, Hedlund, Aristei & Goldman, P.C. 3:17-cv-14342
8 Rappoid, Allan Becnel Law Firm, LLC 3:17-cv-04596
5 Clark, Patricia Burns Charest LLP // Burns Charest LLP 3:17-cv-05696
10 McDeavitt, Cynthia Burns Charest LLP // Burns Charest LLP 3:17-cv-07283

S$gent— oo PSO, Scott Burns. Charest (LP 77-Burne Charest lR/L jc oe wae
FhePate taw Firm ———--———

12 Smith, Deanna Cates Mahoney, LLC 3:17-cv-10747
13 Collins, Thomas Michael Conley Griggs Partin LLP 3:17-cv-13253
14 Natera, Erica R Eichen, Crutchiow, Zaslow & McElroy, LLP 3:17-cv-13546
15 Fowler, Karol Fox and Farley 3:17-cv-08148
16 Sanders, Margarette Girardi & Keese 3:17-cv-12505
17 Blank, Angel Lucille Girardi & Keese 3:4 7-cv-13795
18 Bueno, Alicia Girardi & Keese 3:17-cv-12500
19 Webb,Karyl Goldenberg Law, PLLC 3:17-cv-07681
20 Davis, Shawn Goldenberg Law, PLLC 3:17-cv-10175
21 Boos, Helen Goldenberg Law, PLLC 3:17-cv-11143
22 Bentley, Cathleen Goldenberg Law, PLLC 3:17-cv-11156
a sensor hones er Geo olen ote rear Pete Gere eed EGG de
24 White, Sheena Hart McLaughlin & Eldridge 3:17-cv-1132

25 Seymour, Yokita Hart McLaughlin & Eldridge 3:17-cv-11329
26 Hollifield, Sophie Hart McLaughlin & Eldridge 3:17-cv-11333
27 Culley, Lisa Hart McLaughlin & Eldridge 3:17-cv-11337
28 Benford, Ashiey W. Hart McLaughlin & Eldridge 3:17-cv-11339
29 Jackson, Paula Law Office of Eusi H, Phillips // Law Office 3:16-cv-07488

of Marion D, Floyd
30 Matthews, Lauren Law Office of John D. Sileo, LLC 3:16-cv-07490
31 Brown, Bertha Lenze Kamerrer Moss, PLC 3:17-cv-04340
32 Hunt, Sylvia Massimo & Pawetta, P.C. 3:17-cv-08070
33 Smith, Deborah McGrath Law Firm PA 3:17-cv-02382
34 Allen, Theresa Milberg Coleman Bryson Phillips Grossman,| 3:1.7-cv-12473
LLC

35 Collins, Nettie Morris Bart, LLC 3:17-cv-03919
36 Chanthapanya, Davahn Motley Rice, LLC 3:17-cV-05853
37 Arenz, Dana Motley Rice, LLC 3:17-cv-06074
38 Austin, Sheronda Motley Rice, LLC 3:17-cv-10615
39 Hunsaker, Pamela Motley Rice, LLC 3:17-cv-12059
40 Douglas, Maureen S. Motley Rice, LLC 3:17-ev-12296
41 Luna, Jessica Nicole Motley Rice, LLC 3:17-cv-12324

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The Simon Law Firm, PC

Row # Case Name Plaintiff Firm(s) Docket Number
42 Mancini, Eleanor Napoli Shkolnik, PLLC 3;17-cy-12662
43 Gadfield, Robert Napoli Shkolnik, PLLC 3:17-cv-12704
44 Doyle, Renee Napoli Shkolnik, PLLC 3:17-cv-12715
45 Flerro, James Napoli Shkolnik, PLLC 3:17-cv-12716
46 Christian, Patricta Napoli Shkolnik, PLLC 3:17-cv-12719
47 Brigman, Barbara Poulin, Willey, Anastopoulo, LLC // Steckler] 3:1 7-cv-08135

Gresham Cochran
48 ikemoto, Joan Lee Poulin, Willey, Anastopoulo, LLC // Steckler} 3:1.7-cv-08141

Gresham Cochran
49 Johanson, Roberta Pro Se 3:16-cv-07427
50 Smoller, Lorraine Pra Se 3:16-cv-07427
51 Ford, Teresa Ross Feller Casey, LLP 3:17-cv-02370
52 Dalton, Connie Ross Feller Casey, LLP 3:17-cv-09074
53 Sherlock, Tina Sangisetty Law Firm, LLC 3:17-cv-02751
54 Eidson, Carol Sangisetty Law Firm, LLC 3:17-cv-02753
55 Bullock, Cardell Simmons Hanly Conroy 3;17-cv-05779
56 Rosensteel, Crystal M Simmons Hanly Conroy 3:17-cv-05781
57 Brown, Sharon Simmons Hanly Conroy 3:17-cv-11231
58 Mojica, Kristin Steckler Gresham Cochran 3:17-cv-08455
59 Tolliver, Paul Steve Merritt Law 3:17-cv-02976
66 isaacs, Victor Summers & Johnson, P.C. 3:17-cv-11676
61 Bustos, Arthur L. The Alarid Law Firm, P.C. 3:17-cv-08290
62 Pringie, Maryladene The Simon Law Firm, PC 3:17-cv-06766
63 Demeiia, Maylou The Simon Law Firm, PC 3:17-cv-10971
64 Smith, Cassie 3:17-cv-11212

